      Case 1:23-cv-03026-TOR    ECF No. 81   filed 04/10/23   PageID.2193 Page 1 of 5



 1 BRIAN M. BOYNTON

 2 Principal Deputy Assistant Attorney General

 3 ARUN G. RAO

 4 Deputy Assistant Attorney General

 5 AMANDA N. LISKAMM

 6 Director

 7 HILARY K. PERKINS

 8 Assistant Director

 9 NOAH T. KATZEN

10 Trial Attorney
     Consumer Protection Branch
11 U.S. Department of Justice

12 P.O. Box 386
     Washington, DC 20044-0386
13 (202) 305-2428

14 (202) 514-8742 (fax)
     Noah.T.Katzen@usdoj.gov
15

16                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WASHINGTON
17

18   STATE OF WASHINGTON, et al.,             No. 1:23-cv-03026

19                             Plaintiffs,    DEFENDANTS’ MOTION FOR
20                                            CLARIFICATION
           v.
21                                            05/10/23
22   U.S. FOOD AND DRUG                       WITHOUT ORAL ARGUMENT
     ADMINISTRATION, et al.,
23

24                             Defendants.

25

26

27
      Case 1:23-cv-03026-TOR       ECF No. 81    filed 04/10/23   PageID.2194 Page 2 of 5



 1           Plaintiffs challenge FDA’s January 3, 2023, approval of modifications to the
 2
     Risk Evaluation and Mitigation Strategy (REMS) for mifepristone.1 On April 7,
 3

 4 2023, this Court declined to preliminarily enjoin FDA from enforcing or applying

 5 any requirement of mifepristone’s REMS. Order at 26-27. But the Court

 6
     preliminarily enjoined the agency from “altering the status quo and rights as it
 7

 8 relates to the availability of Mifepristone under the current operative January 2023

 9 Risk Evaluation and Mitigation Strategy [(REMS)] under 21 U.S.C. § 355-1 in

10
     Plaintiff States.” Order at 30.
11

12           Shortly before this Court entered its order, the United States District Court
13 for the Northern District of Texas entered an order invoking 5 U.S.C. § 705 to stay

14
     the approval of the new drug application and abbreviated new drug application for
15

16 mifepristone. See Alliance for Hippocratic Medicine v. FDA, 2:22-cv-00223-Z,

17 Dkt. 137 (Apr. 7, 2023). That court stayed its order for seven days to give FDA

18

19
         1
20           This motion uses the term “mifepristone” to refer to drug products that are

21 approved for medical termination of early pregnancy, in both brand name and

22
     generic form. FDA has separately approved another manufacturer’s drug, Korlym,
23

24 which has mifepristone as its active ingredient and is approved for the treatment of

25 Cushing’s syndrome. This litigation, including the Court’s order, does not affect

26
     Korlym or its generic.
27
     DEFENDANTS’ MOTION FOR CLARIFICATION
                                                1
      Case 1:23-cv-03026-TOR      ECF No. 81    filed 04/10/23   PageID.2195 Page 3 of 5



 1 time to seek relief from the United States Court of Appeals for the Fifth Circuit,

 2
     and FDA is seeking an emergency stay pending appeal. But if the Texas district
 3

 4 court’s order takes effect, the order would—of its own force and without any

 5 further action by FDA—stay the effectiveness of FDA’s prior approvals of

 6
     mifepristone nationwide. See id.
 7

 8         The result of that order appears to be in significant tension with this Court’s
 9 order prohibiting FDA from “altering the status quo and rights as it relates to the

10
     availability of Mifepristone” in Plaintiff States. Order at 30. The Court did not
11

12 address the interaction between the two orders, presumably because they were

13 issued less than 20 minutes apart. To ensure that Defendants comply with all court

14
     orders in these unusual circumstances, Defendants respectfully request that this
15

16 Court clarify their obligations under its preliminary injunction in the event that the

17 Alliance order takes effect and stays the approval of mifepristone.

18

19

20

21

22

23

24

25

26

27
     DEFENDANTS’ MOTION FOR CLARIFICATION
                                               2
     Case 1:23-cv-03026-TOR   ECF No. 81   filed 04/10/23   PageID.2196 Page 4 of 5



 1   April 10, 2023                        HILARY K. PERKINS
 2                                         Assistant Director

 3                                         /s/ Noah T. Katzen
 4                                         NOAH T. KATZEN
                                           Trial Attorney
 5                                         Consumer Protection Branch
 6                                         U.S. Department of Justice
                                           P.O. Box 386
 7                                         Washington, DC 20044-0386
 8                                         (202) 305-2428
                                           (202) 514-8742 (fax)
 9                                         Noah.T.Katzen@usdoj.gov
10
                                           Counsel for Defendants
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     DEFENDANTS’ MOTION FOR CLARIFICATION
                                           3
     Case 1:23-cv-03026-TOR      ECF No. 81    filed 04/10/23   PageID.2197 Page 5 of 5



 1                              CERTIFICATE OF SERVICE
 2
        I hereby certify that, on April 10, 2023, I electronically filed the foregoing with
 3

 4 the Clerk of the Court using the CM/ECF system, which will send notification of

 5 such filing to all counsel of record.

 6

 7

 8                                                /s/ Noah T. Katzen
 9                                                NOAH T. KATZEN
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     DEFENDANTS’ MOTION FOR CLARIFICATION
                                              4
